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                             EXHIBIT A




DOCS_DE:232727.1 31270/002
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                                    Pachulski Stang Ziehl & Jones LLP
                                            919 North Market Street
                                                  17th Floor
                                            Wilmington, DE 19801
                                                                           December 31, 2020
Alfred T. Giuliano                                                         Invoice 127056
Giuliano Miller & Co.                                                      Client  31270
140 Bradford Drive # C                                                     Matter  00002
West Berlin, NJ 08091
                                                                                   BJS

RE: Contingent Preference Actions

 _______________________________________________________________________________________

          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2020
                EXPENSES                                                    $10,887.24
                TOTAL CURRENT CHARGES                                       $10,887.24

                TOTAL BALANCE DUE                                           $10,887.24
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Giuliano, Alfred T. (Heritage)                                                           Invoice 127056
31270 - 00002                                                                            December 31, 2020



 Expenses
 02/11/2020   LN        31270.00002 Lexis Charges for 02-11-20                             165.17
 02/12/2020   CL        31270.00002 CourtLink charges for 02-12-20                           1.22
 02/12/2020   LN        31270.00002 Lexis Charges for 02-12-20                             198.21
 02/13/2020   LN        31270.00002 Lexis Charges for 02-13-20                             429.45
 02/14/2020   LN        31270.00002 Lexis Charges for 02-14-20                              33.03
 02/18/2020   LN        31270.00002 Lexis Charges for 02-18-20                             165.17
 02/25/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                         1.60
 02/25/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                         1.60
 03/02/2020   RE2       SCAN/COPY ( 21 @0.10 PER PG)                                         2.10
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
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 03/03/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
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Giuliano, Alfred T. (Heritage)                                                 Invoice 127056
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 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                0.20
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
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Giuliano, Alfred T. (Heritage)                                                 Invoice 127056
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 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 03/04/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 03/04/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
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Giuliano, Alfred T. (Heritage)                                                 Invoice 127056
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 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                0.60
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
 03/04/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                0.30
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Giuliano, Alfred T. (Heritage)                                                           Invoice 127056
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 03/04/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/04/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/04/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/10/2020   LN        31270.00002 Lexis Charges for 03-10-20                              22.98
 03/12/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/12/2020   RE2       SCAN/COPY ( 6 @0.10 PER PG)                                          0.60
 03/12/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 03/12/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                         1.10
 03/21/2020   CL        31270.00002 CourtLink charges for 03-21-20                           0.93
 04/02/2020   LN        31270.00002 Lexis Charges for 04-02-20                              16.46
 04/06/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 04/06/2020   RE2       SCAN/COPY ( 72 @0.10 PER PG)                                         7.20
 04/06/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 04/06/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 04/06/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 04/06/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 04/06/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 04/07/2020   PO        31270.00002 :Postage Charges for 04-07-20                           48.40
 04/07/2020   PO        31270.00002 :Postage Charges for 04-07-20                           18.10
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                          0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                          0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                          0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                          0.80
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 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
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Giuliano, Alfred T. (Heritage)                                                 Invoice 127056
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 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                0.10
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                0.40
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
 04/07/2020   RE2       SCAN/COPY ( 8 @0.10 PER PG)                                0.80
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 04/07/2020   RE2       SCAN/COPY ( 4 @0.10 PER PG)                                          0.40
 04/07/2020   RE2       SCAN/COPY ( 1 @0.10 PER PG)                                          0.10
 04/24/2020   PO        31270.00002 :Postage Charges for 04-24-20                            1.00
 05/19/2020   LN        31270.00002 Lexis Charges for 05-19-20                              10.76
 06/01/2020   CL        31270.00002 CourtLink charges for 06-01-20                           1.76
 06/16/2020   FE        31270.00002 FedEx Charges for 06-16-20                               9.89
 07/07/2020   FF        Filing Fee [E112] USBC, Bankruptcy Court District of              3,500.00
                        Delaware, LDJ
 07/07/2020   RE        ( 52 @0.10 PER PG)                                                   5.20
 07/07/2020   RE        ( 52 @0.10 PER PG)                                                   5.20
 07/07/2020   RE        ( 26 @0.10 PER PG)                                                   2.60
 07/07/2020   RE        ( 5 @0.10 PER PG)                                                    0.50
 07/07/2020   RE        ( 52 @0.10 PER PG)                                                   5.20
 07/07/2020   RE        ( 244 @0.10 PER PG)                                                 24.40
 07/07/2020   RE        ( 36 @0.10 PER PG)                                                   3.60
 07/07/2020   RE        ( 52 @0.10 PER PG)                                                   5.20
 07/07/2020   RE        ( 7 @0.10 PER PG)                                                    0.70
 07/07/2020   RE        ( 6 @0.10 PER PG)                                                    0.60
 07/08/2020   RE        ( 2 @0.10 PER PG)                                                    0.20
 07/08/2020   RE2       SCAN/COPY ( 14 @0.10 PER PG)                                         1.40
 07/09/2020   RE        ( 24 @0.10 PER PG)                                                   2.40
 07/09/2020   RE        ( 3 @0.10 PER PG)                                                    0.30
 07/09/2020   RE        ( 1 @0.10 PER PG)                                                    0.10
 07/09/2020   RE        ( 96 @0.10 PER PG)                                                   9.60
 07/09/2020   RE2       SCAN/COPY ( 108 @0.10 PER PG)                                       10.80
 07/09/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/09/2020   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                          0.50
 07/09/2020   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                          0.90
 07/09/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/09/2020   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                          0.90
 07/09/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/09/2020   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                          0.50
 07/09/2020   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                          0.50
 07/09/2020   RE2       SCAN/COPY ( 9 @0.10 PER PG)                                          0.90
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 07/10/2020   FF        Filing Fee [E112] USBC, Bankruptcy Court District of              1,050.00
                        Delaware, LDJ
 07/16/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/16/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                         2.40
 07/16/2020   RE2       SCAN/COPY ( 249 @0.10 PER PG)                                       24.90
 07/16/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                         2.40
 07/16/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                         2.40
 07/16/2020   RE2       SCAN/COPY ( 234 @0.10 PER PG)                                       23.40
 07/16/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/16/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/16/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/16/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/16/2020   RE2       SCAN/COPY ( 93 @0.10 PER PG)                                         9.30
 07/16/2020   RE2       SCAN/COPY ( 27 @0.10 PER PG)                                         2.70
 07/16/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/16/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/16/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/17/2020   RE        ( 7 @0.10 PER PG)                                                    0.70
 07/17/2020   RE        ( 240 @0.10 PER PG)                                                 24.00
 07/17/2020   RE        ( 772 @0.10 PER PG)                                                 77.20
 07/20/2020   FF        Filing Fee [E112] USBC, Bankruptcy Court District of              2,450.00
                        Delaware, LDJ
 07/20/2020   FF        Filing Fee [E112]USBC, Bankruptcy Court District of                700.00
                        Delaware, LDJ
 07/20/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/20/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/20/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                         2.40
 07/20/2020   RE2       SCAN/COPY ( 24 @0.10 PER PG)                                         2.40
 07/21/2020   RE        ( 1 @0.10 PER PG)                                                    0.10
 07/23/2020   LN        31270.00002 Lexis Charges for 07-23-20                              21.96
 07/24/2020   FF        Filing Fee [E112] USBC, Bankruptcy Court District of               350.00
                        Delaware, LDJ
 07/24/2020   RE2       SCAN/COPY ( 234 @0.10 PER PG)                                       23.40
 07/24/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/24/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 07/24/2020   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                          0.50
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 07/24/2020   RE2       SCAN/COPY ( 79 @0.10 PER PG)                                         7.90
 07/27/2020   LN        31270.00002 Lexis Charges for 07-27-20                              43.92
 07/28/2020   FF        Filing Fee [E112] USBC, Bankruptcy Court District of               350.00
                        Delaware, LDJ
 07/28/2020   RE        ( 80 @0.10 PER PG)                                                   8.00
 07/28/2020   RE        ( 1 @0.10 PER PG)                                                    0.10
 07/28/2020   RE        ( 3 @0.10 PER PG)                                                    0.30
 07/28/2020   RE        ( 1 @0.10 PER PG)                                                    0.10
 07/28/2020   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                          0.50
 07/28/2020   RE2       SCAN/COPY ( 5 @0.10 PER PG)                                          0.50
 07/28/2020   RE2       SCAN/COPY ( 48 @0.10 PER PG)                                         4.80
 07/28/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
 07/28/2020   RE2       SCAN/COPY ( 16 @0.10 PER PG)                                         1.60
 07/28/2020   RE2       SCAN/COPY ( 17 @0.10 PER PG)                                         1.70
 07/28/2020   RE2       SCAN/COPY ( 3 @0.10 PER PG)                                          0.30
 07/29/2020   FF        Filing Fee [E112]USBC, Bankruptcy Court District of                350.00
                        Delaware, LDJ
 07/29/2020   RE        ( 70 @0.10 PER PG)                                                   7.00
 07/29/2020   RE        ( 46 @0.10 PER PG)                                                   4.60
 07/29/2020   RE2       SCAN/COPY ( 34 @0.10 PER PG)                                         3.40
 07/31/2020   RE        ( 780 @0.10 PER PG)                                                 78.00
 07/31/2020   RE        ( 13 @0.10 PER PG)                                                   1.30
 07/31/2020   RE        ( 4 @0.10 PER PG)                                                    0.40
 07/31/2020   RE        ( 1 @0.10 PER PG)                                                    0.10
 07/31/2020   RE        ( 4 @0.10 PER PG)                                                    0.40
 07/31/2020   RE        ( 13 @0.10 PER PG)                                                   1.30
 07/31/2020   RE2       SCAN/COPY ( 15 @0.10 PER PG)                                         1.50
 08/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 08/03/2020   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
 08/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 08/03/2020   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
 08/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 08/03/2020   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
 08/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 08/03/2020   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
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 08/03/2020   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
 08/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 08/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 08/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 08/03/2020   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
 08/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 08/03/2020   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
 08/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 08/03/2020   RE2       SCAN/COPY ( 2 @0.10 PER PG)                                          0.20
 08/03/2020   RE2       SCAN/COPY ( 10 @0.10 PER PG)                                         1.00
 08/19/2020   LN        31270.00002 Lexis Charges for 08-19-20                              24.10
 09/03/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                         1.10
 09/24/2020   LN        31270.00002 Lexis Charges for 09-24-20                               0.74
 09/25/2020   LN        31270.00002 Lexis Charges for 09-25-20                               0.74
 09/25/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                         1.10
 09/29/2020   LN        31270.00002 Lexis Charges for 09-29-20                               0.74
 10/02/2020   LN        31270.00002 Lexis Charges for 10-02-20                               0.63
 10/05/2020   LN        31270.00002 Lexis Charges for 10-05-20                               0.63
 10/05/2020   LN        31270.00002 Lexis Charges for 10-05-20                               0.63
 10/05/2020   LN        31270.00002 Lexis Charges for 10-05-20                               8.89
 10/08/2020   LN        31270.00002 Lexis Charges for 10-08-20                               0.63
 10/08/2020   LN        31270.00002 Lexis Charges for 10-08-20                               8.90
 10/09/2020   LN        31270.00002 Lexis Charges for 10-09-20                               2.33
 10/09/2020   LN        31270.00002 Lexis Charges for 10-09-20                               0.63
 10/13/2020   LN        31270.00002 Lexis Charges for 10-13-20                               0.58
 10/13/2020   LN        31270.00002 Lexis Charges for 10-13-20                               0.63
 10/13/2020   LN        31270.00002 Lexis Charges for 10-13-20                               0.63
 10/13/2020   LN        31270.00002 Lexis Charges for 10-13-20                               8.90
 10/20/2020   LN        31270.00002 Lexis Charges for 10-20-20                               0.63
 10/20/2020   LN        31270.00002 Lexis Charges for 10-20-20                               8.90
 10/28/2020   RE        ( 12 @0.10 PER PG)                                                   1.20
 10/28/2020   RE        ( 3 @0.10 PER PG)                                                    0.30
 10/28/2020   RE        ( 12 @0.10 PER PG)                                                   1.20
 10/28/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                         1.20
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 10/28/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                          1.20
 10/28/2020   RE2       SCAN/COPY ( 12 @0.10 PER PG)                                          1.20
 10/30/2020   RE        ( 4 @0.10 PER PG)                                                     0.40
 10/30/2020   RE        ( 574 @0.10 PER PG)                                                  57.40
 10/30/2020   RE        ( 3 @0.10 PER PG)                                                     0.30
 10/30/2020   RE        ( 1 @0.10 PER PG)                                                     0.10
 10/30/2020   RE        ( 2 @0.10 PER PG)                                                     0.20
 10/30/2020   RE2       SCAN/COPY ( 11 @0.10 PER PG)                                          1.10
 11/16/2020   LN        31270.00002 Lexis Charges for 11-16-20                                9.88
 11/23/2020   DC        31270.00002 Advita Charges for 11-23-20                               7.50
 12/15/2020   LN        31270.00002 Lexis Charges for 12-15-20                                9.79
 12/31/2020   PAC       Pacer - Court Research                                              209.80

   Total Expenses for this Matter                                                     $10,887.24
